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                                UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION




      Infogation Corporation,
                                                                  Case No. 2:24-cv-301
                      Plaintiff,
                                                                  Jury Trial Demanded
                      v.

         Aisin Corporation,

                      Defendant.


                      ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Infogation Corporation (“Infogation” or “Plaintiff”) hereby files this Original Complaint for Patent

Infringement against Aisin Corporation (“Aisin” or “Defendant”), and alleges, upon information and

belief, as follows:

                                              THE PARTIES

    1.       Infogation Corporation is a corporation organized and existing under the laws of the State of

             Texas with its principal place of business at 1409 Constellation Drive, Allen, Texas 75013.

    2.       Upon information and belief, Aisin is a Japanese corporation with its principal place of

             business located at 2-1, Asahi-machi, Kariya, Aichi, 448-8650, Japan. Upon information and

             belief, Aisin does business in Texas and in the Eastern District of Texas, directly or through

             intermediaries. Aisin may be served through the Texas Secretary of State.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 1
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                                 JURISDICTION AND VENUE

   3.    This is an action for patent infringement arising under the patent laws of the United States, 35

         U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

         and 1338(a).

   4.    This Court has personal jurisdiction over Defendant. Defendant regularly conducts business

         and has committed acts of patent infringement and/or has induced acts of patent infringement

         by others in this Judicial District and/or has contributed to patent infringement by others in

         this Judicial District, the State of Texas, and elsewhere in the United States.

   5.    This Court has at least specific personal jurisdiction over Aisin because it has substantial

         contacts and conducts business in the State of Texas and in this District and has been

         infringing, contributing to the infringement of and/or actively inducing others to infringe

         claims of the Patents-in-Suit (defined below) in Texas and elsewhere by virtue of its

         manufacture and importing of Aisin’s Toyota Lexus Genuine Navigation systems, including

         through Toyota.

   6.    Aisin’s control and contractual relationship with Toyota to manufacture, import and sell

         Aisin’s products within the United States is alone sufficient to establish minimum contacts

         with the United States. Aisin, through its website, shows it retains control over directing its

         customers to its U.S. distributors for the Accused Instrumentalities (defined below).

   7.    Aisin’s global website makes clear it provides information and videos regarding development,

         history and instruction for use of the Accused Instrumentalities and guidance

         https://www.aisin.com/en/product/mobility/cs-s/. Aisin’s website details Aisin’s activities

         directing U.S. customers interested in sales.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             2
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   8.    Defendant directly conducts business extensively throughout the State of Texas, by

         distributing, making, using, offering for sale, selling, and advertising its products and services

         in the State of Texas and in this District. Defendant has purposefully and voluntarily made

         its business services, including the infringing systems and services, available to residents of

         this District and into the stream of commerce with the intention and expectation that they will

         be purchased and/or used by consumers in this District.

   9.    Venue is proper in the Eastern District of Texas as to Defendant pursuant to at least 28 U.S.C.

         §§ 1391(b) and (c) and 1400(b), as well as under the “alien venue rule.” Brunette Machine

         Works, Ltd. v. Kockum Indus., Inc., 406 U.S. 706 (1972); In re HTC Corp., 889 F.3d 1349

         (Fed. Cir. 2018); Weatherford Tech. v. Tesco Corp., 2018 WL 5315206 at *2-3 (E.D. Tex.

         Oct. 26, 2018). As noted above, Defendant is a foreign entity which maintains a regular and

         established business presence in the United States.

                                        PATENTS-IN-SUIT

   10.   Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent 10,107,628 (the “’628

         Patent”) and U.S. Patent 6,292,743 (the “’743 Patent”) (hereinafter collectively referred to as

         the “Patents-in-Suit”).



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               3
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   11.   By written instruments executed, Plaintiff is assigned all rights, title, and interest in the

         Patents-in-Suit. As such, Plaintiff has sole and exclusive standing to assert the Patents-in-

         Suit and to bring these causes of action.

   12.   The Patents-in-Suit are valid, enforceable, and were duly issued in full compliance with Title

         35 of the United States Code.

   13.   The Patents-in-Suit have been cited in over 200 patents issued to well-known industry leaders,

         including industry giants Toyota, Google, Microsoft, Garmin, Aisin, TomTom, Aol,

         Mapquest, Facebook, Verizon, Sprint, Cisco, Samsung, NEC, Nokia, Alcatel, Pioneer,

         Phillips, Lucent, IBM, Intel, Motorola, Sony, Toshiba and Kaarta.

   14.   The Patents-in-Suit each include numerous claims defining distinct inventions. No single

         claim is representative of any other.

   15.   The priority date of the ’628 Patent is at least as early as August 11, 2007. It generally relates

         to the area of Global Positioning System (GPS), and, in particular, to navigation on non-

         linearly scaled maps and how to display such non-linearly scaled maps with proper colors on

         a display screen. As of the priority dates, the inventions as claimed were novel, non-obvious,

         unconventional, and non-routine. Indeed, the Patents-in-Suit overcame a number of specific

         technological problems in the industry and provided specific technological solutions.

   16.   The priority date of the ’743 Patent is at least as early as January 6, 1999. It generally relates

         to a mobile navigation system and apparatus, and more particularly to a distributed navigation

         system having a wireless connection to a server for calculating optimal routes using real-time

         data. As of the priority dates, the inventions as claimed were novel, non-obvious,

         unconventional, and non-routine. Indeed, the Patents-in-Suit overcame a number of specific

         technological problems in the industry and provided specific technological solutions.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               4
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   17.   The claims of the Patents-in-Suit are patent eligible under 35 U.S.C. § 101, 102, 103, and 112,

         as reflected by the fact that three different Patent Examiners all agreed and allowed the

         Patents-in-Suit over extensive prior art as disclosed and of record during the prosecution of

         the Patents-in-Suit. See Stone Basket Innov., 892 F.3d at 1179 (“when prior art is listed on

         the face of a patent, the examiner is presumed to have considered it”) (citing Shire LLC v.

         Amneal Pharm., LLC, 802 F.3d 1301, 1307 (Fed. Cir. 2015)); Exmark Mfg. v. Briggs &

         Stratton, 879 F.3d 1332, 1342 (Fed. Cir. 2018).

   18.   After giving full proper credit to the prior art and having conducted a thorough search for all

         relevant art and having fully considered the most relevant art known at the time, the United

         States Patent Examiners allowed all of the claims of the Patents-in-Suit to issue. In so doing,

         it is presumed that Examiners used their knowledge of the art when examining the claims.

         See K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further

         presumed that Patent Examiners had experience in the field of the invention, and that the

         Patent Examiners properly acted in accordance with a person of ordinary skill. In re Sang Su

         Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002).

   19.   The claims of the Patents-in-Suit are novel and non-obvious, including over all non-cited art

         that is merely cumulative with the referenced and cited prior art. See 37 C.F.R. § 1.56(b)

         (information is material to patentability when it is not cumulative to information already of

         record in the application); see also AbbVie Deutschland GmbH v. Janssen Biotech, 759 F.3d

         1285, 1304 (Fed. Cir. 2014); In re DBC, 545 F.3d 1373, 1382 (Fed. Cir. 2008). Likewise, the

         claims of the ’628 Patent are novel and non-obvious, including over all non-cited

         contemporaneous state of the art systems and methods, all of which would have been known

         to a person of ordinary skill in the art, and which were therefore presumptively also known




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            5
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         and considered by the Examiners. See, e.g., St. Clair I.P. Consultants v. Canon, Inc., 2011

         WL 66166 at *6 (Fed. Cir. 2011); In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002);

         In re Koninklijke Philips Patent Litigation, 2020 WL 7392868 at *19 (N.D. Cal. 2020);

         Standard Oil v. American Cyanamid, 774 F.2d 448, 454 (Fed. Cir. 1985) (persons of ordinary

         skill are presumed to be aware of all pertinent prior art).

                           THE ACCUSED INSTRUMENTALITIES

  20.   Upon information and belief, Aisin makes, sells, advertises, offers for sale, uses, or otherwise

        provides an apparatus and method for navigation systems covered by the Patents-in-Suit,

        including but not limited to, the Aisin’s Toyota Lexus Genuine Navigation systems, including

        all augmentations to these platforms or descriptions of platforms (collectively, all the foregoing

        is referred to herein as the “Accused Instrumentalities”), as shown below.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              6
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                                           COUNT I
                           Infringement of U.S. Patent No. 10,107,628

   21.   Plaintiff incorporates the above paragraphs by reference.

   22.   Defendant has been on actual notice of the ’628 Patent at least as early as the date it received

         service of the Original Complaint in this litigation.

   23.   Plaintiff or its predecessors-in-interest have satisfied all statutory obligations required to

         collect pre-filing damages for the full period allowed by law for infringement of the ’628

         patent, thus the damages period begins at least as early as six years prior to the date of service

         of the Original Complaint in this litigation.

   24.   Defendant manufactures, sells, offers for sale, owns, directs, and/or controls the operation of

         the Accused Instrumentalities and generates substantial financial revenues and benefits

         therefrom.


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               7
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   25.   Defendant has directly infringed and continues to directly infringe the claims of the ’628

         Patent. As exemplary and shown in Ex. 1, Claim 1 is infringed by making, using, importing,

         selling, and/or offering for sale the Accused Instrumentalities. Defendant directly makes and

         sells the infringing Accused Instrumentalities at least because it is solely responsible for

         putting the infringing systems into service by directing or controlling the systems as a whole

         and by obtaining the benefits therefrom.

   26.   Further on information and belief, Defendant directly uses the infringing Accused

         Instrumentalities at least because it assembled the combined infringing elements and makes

         them collectively available in the United States, including via its Internet domain web pages

         and/or software applications, as well as via its internal systems and interfaces. Further, and

         on information and belief, Defendant has directly infringed by using the infringing Accused

         Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

         activities. Such testing and/or legal compliance necessarily requires Defendant to make and

         use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

         infringer by virtue of its branding and marketing activities, which collectively comprise the

         sale and offering for sale of the infringing Accused Instrumentalities.

   27.   As shown above, Defendant is making, using, and offering for sale the Accused

         Instrumentalities.

   28.   Additionally, upon information and belief, Defendant owns, directs, and/or controls the

         infringing method operation of the Accused Instrumentalities.

   29.   On information and belief, the infringement of the ’628 Patent by Defendant will now be

         willful through the filing and service of this Complaint. The ’628 Patent is not expected to

         expire before July 26, 2033.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            8
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   30.   In addition or in the alternative, Defendant now has knowledge and continues these actions

         and it indirectly infringes by way of inducing direct infringement by others and/or

         contributing to the infringement by others of the ’628 Patent in the State of Texas, in this

         judicial district, and elsewhere in the United States, by, among other things, making, using,

         importing, offering for sale, and/or selling, without license or authority, infringing services

         for use in systems that fall within the scope of the claims of the ’628 Patent. This includes

         without limitation, one or more of the Accused Instrumentalities by making, using, importing

         offering for sale, and/or selling such services, Defendant injured Plaintiff and is thus liable to

         Plaintiff for infringement of the ’628 Patent under 35 U.S.C. § 271.

   31.   Now with knowledge of the ’628 Patent, Defendant induces infringement under Title 35

         U.S.C. § 271(b). Defendant will have performed actions that induced infringing acts that

         Defendant knew or should have known would induce actual infringements. See Manville Sales

         Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp.

         v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of

         inducement requires a threshold finding of direct infringement—either a finding of specific

         instances of direct infringement or a finding that the accused products necessarily infringe.”

         Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d

         1307, 1313, (Fed. Cir. 2007).

   32.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

         Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

         may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

         F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

         required; rather, circumstantial evidence may suffice.”).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               9
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   33.   Defendant has taken active steps to induce infringement, such as advertising an infringing

         use, which supports a finding of an intention for the accused product to be used in an

         infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

         932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the contributory infringement

         doctrine “was devised to identify instances in which it may be presumed from distribution of

         an article in commerce that the distributor intended the article to be used to infringe another’s

         patent, and so may justly be held liable for that infringement”).

   34.   In addition, on information and belief, and based in part upon the clear infringement by the

         Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

         rights of others first for clearance or to assess infringement thereof prior to launching products

         and services. As such, Defendant has been willfully blind to the patent rights of Plaintiff.

   35.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

         Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement

         shall be determined at trial but is in no event less than a reasonable royalty from the date of

         first infringement to the expiration of the ’628 Patent.

   36.   Each of Defendant’s aforesaid activities have been without authority and/or license from

         Plaintiff.

                                          COUNT II
                            Infringement of U.S. Patent No. 6,292,743

   37.   Plaintiff incorporates the above paragraphs by reference.

   38.   Defendant has been on actual notice of the ’743 Patent at least as early as the date it received

         service of the Original Complaint in this litigation.

   39.   Plaintiff or its predecessors-in-interest have satisfied all statutory obligations required to

         collect pre-filing damages for the full period allowed by law for infringement of the ’743



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              10
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         patent, thus the damages period begins at least as early as six years prior to the date of service

         of the Original Complaint in this litigation, and up to is expiration on January 6, 2019.

   40.   Defendant manufactures, sells, offers for sale, owns, directs, and/or controls the operation of

         the Accused Instrumentalities and generates substantial financial revenues and benefits

         therefrom.

   41.   Defendant has directly infringed and continues to directly infringe the claims of the ’743

         Patent. As exemplary and shown in Ex. 4, Claim 1 is infringed by making, using, importing,

         selling, and/or offering for sale the Accused Instrumentalities. Defendant directly makes and

         sells the infringing Accused Instrumentalities at least because it is solely responsible for

         putting the infringing systems into service by directing or controlling the systems as a whole

         and by obtaining the benefits therefrom.

   42.   Further on information and belief, Defendant directly uses the infringing Accused

         Instrumentalities at least because it assembled the combined infringing elements and makes

         them collectively available in the United States, including via its Internet domain web pages

         and/or software applications, as well as via its internal systems and interfaces. Further, and

         on information and belief, Defendant has directly infringed by using the infringing Accused

         Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

         activities. Such testing and/or legal compliance necessarily requires Defendant to make and

         use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

         infringer by virtue of its branding and marketing activities, which collectively comprise the

         sale and offering for sale of the infringing Accused Instrumentalities.

   43.   As shown above, Defendant is making, using, and offering for sale the Accused

         Instrumentalities.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              11
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   44.   Additionally, upon information and belief, Defendant owns, directs, and/or controls the

         infringing method operation of the Accused Instrumentalities.

   45.   On information and belief, the infringement of the ’743 Patent by Defendant has been willful

         since 2010 when Aisin cited it in its application for its own. Upon information and belief,

         Aisin conducts due diligence of its own systems and products to avoid infringing others’

         patent rights, and would have discovered the ’743 Patent in its due diligence to integrate

         TomTom navigation devices.




         Screenshot of Google Patent search result for patent citations to the ’743 Patent

   46.   In addition or in the alternative, Defendant now has knowledge and continues these actions

         and it indirectly infringes by way of inducing direct infringement by others and/or

         contributing to the infringement by others of the ’743 Patent in the State of Texas, in this

         judicial district, and elsewhere in the United States, by, among other things, making, using,

         importing, offering for sale, and/or selling, without license or authority, infringing services

         for use in systems that fall within the scope of the claims of the ’743 Patent. This includes

         without limitation, one or more of the Accused Instrumentalities by making, using, importing

         offering for sale, and/or selling such services, Defendant injured Plaintiff and is thus liable to

         Plaintiff for infringement of the ’743 Patent under 35 U.S.C. § 271.

   47.   Now with knowledge of the ’743 Patent, Defendant induces infringement under Title 35

         U.S.C. § 271(b). Defendant will have performed actions that induced infringing acts that

         Defendant knew or should have known would induce actual infringements. See Manville Sales

         Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med. Corp.

         v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A] finding of



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         inducement requires a threshold finding of direct infringement—either a finding of specific

         instances of direct infringement or a finding that the accused products necessarily infringe.”

         Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks Manufacturer Co., 501 F.3d

         1307, 1313, (Fed. Cir. 2007).

   48.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

         Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

         may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

         F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

         required; rather, circumstantial evidence may suffice.”).

   49.   Defendant has taken active steps to induce infringement, such as advertising an infringing

         use, which supports a finding of an intention for the accused product to be used in an

         infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

         932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the contributory infringement

         doctrine “was devised to identify instances in which it may be presumed from distribution of

         an article in commerce that the distributor intended the article to be used to infringe another’s

         patent, and so may justly be held liable for that infringement”).

   50.   In addition, on information and belief, and based in part upon the clear infringement by the

         Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

         rights of others first for clearance or to assess infringement thereof prior to launching products

         and services. As such, Defendant has been willfully blind to the patent rights of Plaintiff.

   51.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

         Plaintiff. The specific dollar amount of damages adequate to compensate for the infringement




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            shall be determined at trial but is in no event less than a reasonable royalty from the date of

            first infringement to the expiration of the ’743 Patent.

    52.     Each of Defendant’s aforesaid activities have been without authority and/or license from

            Plaintiff.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court enter judgment against Defendant as

follows:

       1.      Declaring that Defendant has infringed the Patents-in-Suit;

       2.      Awarding Plaintiff its damages suffered because of Defendant’s infringement of the

               Patents-in-Suit;

       3.      Enter a judgment awarding treble damages pursuant to 35 U.S.C. §284 for Defendant’s

               willful infringement of the Patents-in-Suit;

       4.      Awarding Plaintiff its costs, reasonable attorneys’ fees, expenses, and interest; and

       5.      Granting Plaintiff such further relief as the Court finds appropriate.

                                            JURY DEMAND

       Plaintiff demands trial by jury, under Fed. R. Civ. P. 38.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              14
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                                        Respectfully Submitted,

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                                        ATTORNEYS FOR PLAINTIFF




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